Case 2:10-md-02179-CJB-DPC Document 4820-41 Filed 12/06/11 Page 1 of 6




                                EXHIBIT 33



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
Case 2:10-md-02179-CJB-DPC Document 4820-41 Filed 12/06/11 Page 2 of 6   1



 1                UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA
 2
 3     IN RE: OIL SPILL                  )      MDL NO. 2179
       by the OIL RIG,                   )
 4     DEEPWATER HORIZON in              )      SECTION "J"
       the GULF OF MEXICO,               )
 5     April 20, 2010                    )      JUDGE BARBIER
                                         )
 6                                       )       MAG. JUDGE
                                         )       SHUSHAN
 7
 8




13
                             **************
14                              VOLUME 1
                             **************
15
16
17                Deposition of JONATHAN SPRAGUE,
       taken at Pan-American Building, 601 Poydras
18     Street, 11th Floor, New Orleans, Louisiana,
       70130, on the 21st of March, 2011.
19
20
21     APPEARANCES:
22
       Mr. Duke Williams
23     WILLIAMS LAW GROUP, LLC
       909 Poydras Street, Suite 1650
24     New Orleans, Louisiana 70112
25

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Case 2:10-md-02179-CJB-DPC Document 4820-41 Filed 12/06/11 Page 3 of 6 83



 1             Q.       After the cement job, if the
 2     well flows, hydrocarbons are released.
 3     That's a safety issue, isn't it?                    If
 4     there's no downhole integrity, that's a
 5     safety issue, isn't it?
 6                     MS. KARIS:
 7                           Object to form.
 8             A.       Could you rephrase that, please?
 9             Q.       Sure.     If the cement job
10     fails -- the cement job is meant to achieve
11     zonal isolation of hydrocarbons; is that a
12     correct statement?
13             A.       Yes.
14             Q.       If it doesn't work, for whatever
15     reason, and hydrocarbons are allowed to
16     flow up through the casing and into the
17     riser, that's a problem, isn't it?
18                     MR. GODWIN:
19                           Object to the form.
20             Q.       That's a -- that's a safety
21     issue, isn't it?
22                     MR. GODWIN:
23                           Object to form.
24             A.       It's a well control issue.
25             Q.       Is a well control issue a safety

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Case 2:10-md-02179-CJB-DPC Document 4820-41 Filed 12/06/11 Page 4 of 6 84



 1     issue?
 2             A.       Yes.
 3             Q.       It's always a safety issue,
 4     isn't it?
 5             A.       Yes.
 6             Q.       Uncontrolled flow of
 7     hydrocarbons is a critical safety issue,
 8     isn't it?
 9             A.       Yes, it is.
10             Q.       It can cause an explosion,
11     potentially?
12                     MS. KARIS:
13                           Object to form.
14             Q.       If it's not controlled, it's
15     going to be a problem, is it not?
16             A.       Yes.
17             Q.       And that's going to be a problem
18     that's going to impact safety of either
19     equipment, property, the environment, or
20     the people on a rig in some way, is it not?
21                     MS. KARIS:
22                           Object to form.
23             A.       It could.
24             Q.       It did in this case, didn't it?
25                     MS. KARIS:

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Case 2:10-md-02179-CJB-DPC Document 4820-41 Filed 12/06/11 Page 5 of 6 140



 1     or success/failure criteria.                  Therefore,
 2     effective performance of the test placed a
 3     higher reliance of the competency and
 4     leadership skills of the BP and Transocean
 5     rig leaders.
 6             Q.       Thank you.
 7                              Do you have any -- any
 8     disagreement or reservations about that
 9     conclusion, which was set forth in the Bly
10     report?
11             A.       No.
12             Q.       Okay.      Have you ever heard of
13     anything called bladder effect?
14             A.       No.
15             Q.       Okay.      Next go to Page 33 of the
16     Bly report, please.             Under Key Finding 1 it
17     says, The annulus cement barrier did not
18     isolate the hydrocarbons, correct?
19             A.       Yes.
20             Q.       Then it goes on to say that the
21     annulus cement barrier failed to prevent
22     hydrocarbons from migrating into the
23     wellbore.        Do you agree with that?
24             A.       That was one thing that failed
25     to prevent hydrocarbons.

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Case 2:10-md-02179-CJB-DPC Document 4820-41 Filed 12/06/11 Page 6 of 6 141



 1             Q.       But you don't have any
 2     disagreement with that statement, with that
 3     qualification, correct?
 4             A.       Correct.
 5             Q.       The investigation team's
 6     analysis identified a probable technical
 7     explanation for the failure.                  Interactions
 8     between BP and Halliburton and shortcomings
 9     in the planning, design, execution, and
10     confirmation of the cement job reduced the
11     prospects for a successful cement job.
12                              Did I read that accurately?
13             A.       That's what it says.
14             Q.       Do you have any disagreement
15     with that?
16                      MS. KARIS:
17                            Object to form.
18             A.       I guess what I struggle with is
19     it is a pretty broad statement in terms of
20     the BP and Halliburton interaction.
21             Q.       Well --
22                      MR. GODWIN:
23                            Object to form.
24             Q.       It doesn't limit the
25     shortcomings to Halliburton, does it?

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